
The Disciplinary Review Board having filed with the Court pursuant to Rule 1:20-15(k) a recommendation (DRB 18-271) that John Charles Allen of New Brunswick, who was admitted to the bar of this State in 1995, be suspended from the practice of law for failure to comply with the determination of the District VIII Fee **364Arbitration Committee in District Docket No.VIII-2017-0020F, and good cause appearing;
It is ORDERED that John Charles Allen be temporarily suspended from the practice of law, effective November 19, 2018, and until respondent complies with the determination of the District VIII Fee Arbitration Committee in Docket No. VIII-2017-0020F, and until the further Order of the Court; provided, however, this Order shall be vacated automatically if the Disciplinary Review Board reports to the Court that prior to the effective date of the suspension respondent has satisfied all obligations under this Order; and it is further
ORDERED that if respondent seeks to be heard on this matter, he shall file with the Clerk of the Court within ten days of the file date of this Order a written request for the issuance of an Order to Show Cause; and it is further
ORDERED that respondent be restrained and enjoined from practicing law during the period of his suspension and that he comply with Rule 1:20-20.
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State.
